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                              UN ITED STA TES DISTR IC T C O IJR T
                              SO UTH ER N D IS'1'RlC '
                                                     l'O F FLO RIDA

                           CASE NO . 21n$02072O'Sullivan


   U N IT E D STA TES O F A M ER ICA



   C IW R LESTER IW NC EJO HNSO N,

           D efendant.


                                    CR IXH NA L CO V ER SIIEET

       D id this m atteroriginate from a m atter pending in the CentralRegion ofthe United States
       Attorney'st'
                  .
                  lf-f5cepriorto August9,2013(M ag.JudgeAliciaValle)?                        Yes X No
   2. Ilid this m atter originate from a m atlerpending in theN orthern Region ofthe tpnited States
       Attomey'sOfficepriortoAugust8,2014(M ag.JudgeSlzaniekMayna-d)?                        Yes E No
    3. D id this m atteroriginate fronla m atter pending in tlze CentralRegion of the U nited States
       Attonley'sOfficepriortoOctober3.20l9(Mag.JtldgeJaredStratlssl?                        Yes X No

                                                          Respectftllly subm itted,

                                                          A RIAN A FAJARDO O RSIIAN
                                                          t.
                                                           IN'1-1+-
                                                                  J17 S'1'A''
                                                                            I-FJS .
                                                                                  A-l-I-
                                                                                       O RN
                                                                                          . F.
                                                                                             /Y


                                                BN. rN
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                                                                            .   J7                '
                                                          Stephen J. D anovl   ;ch                       ''
                                                                                                          -
                                                                                                          '
                                                          A ssistantUnited StatesA ttorney
                                                          SouthenlD istrictof Florida
                                                          H orida BarNo.6 l120
                                                          99 N orthemst4th Street
                                                          M iam i,Florida 33132-211l
                                                          Telephone'
                                                                   .(305)961-9208
                                                          E-m ail:Steplzen.D elzlallovichl:.l
                                                                                            tlsdoj.gov
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AO91(Rev.08/09) Cri
                  minalComplai
                             nt

                              U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

              United StatesofAm elica                    )
                         V.                              )
                                                         )     CaseNO. 21n$02072 O'Sullivan
         CHARLES TERRANCEJOHNSON                         )
                                                         )
                                                         )

       CRIM INAI,COM PLAINT BY TELEPH ONE OR OTH ER RELIABLE ELECTRO NIC M EANS

        1,thc complainantin thiscase,statethatthefollowing istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of OctoY r2020throuchthepresent inthecountiesof Miami-Dadeand Broward inthe
   Southern    Distlictof      Fl
                                orida       ,thedefendantts)violated:
          CodeSection                                             O/fcnu
                                                                       s'
                                                                        cDescription
 18 USC 1 2261A                          CyberStalki
                                                   ng




        Tltiscriminalcomplaintisbased on thesefacts:
SEE ATTACHED AFFIDAVIT




        V Continuedonthcattachedshcct.


                                                                               Com dz/zz/zzk/tçsignature

                                                                             8A hom as Pavletic FBl
                                                                                 rintedpt
                                                                                        zzrleand p'
                                                                                                  z/

 Attested toby theApplicantin accordancewith therequirementsofFed.R.Crim . .4.1by            e i e.

Ilate: 1/14/2021
                                                                                  Iu ge''
                                                                                        wvsignature

Citv antlstate:                   Miami,Florida                  Hon.Joh J.O '
                                                                             Sulli
                                                                                 van:ChiefU.S.Magistrate Judge
                                                                                Printednume= J title
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                                                                       21mj02072 O'Sullivan


                   A FFID AV IT IN SU PPO RT O F CR IM INA L C O M PLA INT

          1, Special A gent '
                            Ihom as Pavletic, firstbeing duly sw om ,hereby depose and sGte the

  follow ing'
            .

          1.    Iam aSpecialAgentwiththeFederalBureau ofInvestigation(1çFBI'')andhavebeen
  sinceM ay 20 19. A m ongm y dutiesasan 0 1SpecialAgent Iam responsibleforthe investigation

  of violations of federal law , including federallaw s related to threats to life,threatening and

  harassing com m unications,cyberstalkinp and firearm s offenses. Iam currently assir ed to the

  FBl's Joint Terrorism Task Force (t$JTTF''),where my primary responsibilities include the
  investigation ofthreatto lifecases.

         2.     I am fam iliar w ith the facts and circum stances of the investigation based on m y

  personalparticipation in the investigation,m y comm uniczionsw ith otherlaw enforcem entofricers,

  and m y exam ination of relevant evidence. '
                                             Ihe inform ation contained in this A ffidavit is not

  inclusive ofa11the factsofthe investigation and isprovidedforthe lim ited purpose ofestablishing

  probablecauseto obtain a criluinalcom plaint.

         3.     R'
                 h is Affidavit ism ade in supportof a crilninalcom plaintforthe arrestof Charles

  TerranceJohnson CGJOHNSON''),whowith theintentto kill,injure,harass,intimidate,orplace
  undersulweillancewiththeintenttokill,injure,harass,orintimidateanotherperson,usedthemail,
  any interactivecom puterserviceorelectroniccom m unication serviceorelectronic com m unication

  system ofinterstate com m erce,oranyotherfacility ofinterstateorforei> com m erceto engage in a

   courseofcondudthatplacedthatpersoninreasonablefearofdeathoforseriolzsbodily injury or
  caused,attem ptedto cause,orw ouldbe reasonably expected to causesubstantialem otionaldistress

  to a person,in violation ofTitle 18,United StatesCode,Section 2261A .

                                        PR O BABLE CA U SE

                On oraboutDecem ber3,2020,tlze FBIM iam iField O fficereceived atelephonictip
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  regardingthreateningand harassingtelephonecallsreceivedby the 1aw firm ofM organ,Lew is &

   BockiusLLP (ç&M LB'')locatedin M iam i,Florida.
                 The tipster,who isan MLB representativeCçD.M.''),indicatedthatseveralMLB
  em ployeesreceive num erousconcerningvoicem ailsfrom JO HN SO N .'Ihe investigation revealed

  thatJO HN SON leftapproxim ately 60harassingvoicem ailson m ultipleM LB em ployees'voicem ail

  boxesw ithin approxim ately a one-w eek period. D .M .advisedM LB had represented H om e D epot

  CçHD'')lin a wrongfultennination lawsuitthatJOHNSON filed againstHD in oraround 2004-
  2005. M LB prevailed in the law suit, but since then M LB has had severalincidents involving

  JO HN SON .

                 Specifically,M LB advised law enforcem entthatH D received additionalunsolicited

   calls and voicem ails from JO HN SON . Iwaw enforcem entcontacted HD 's cop orate offices in

   Atlanh , G eorgia and discovered JO HN SON called and leftH D approxim ately l55 voicem ails

   directed to num erousem ployeesw ithin an approxim dely sixty-dayperiod.

                 Forexam ple,on oraboutN ovem ber 27,2020,JO HN SON leftseveralvoicem ail

  m essagesin thevoicem ailboxofHD representativeCçL.M .'').In onemessage,JOHNSON stated:
   ç1fdon'
         tgota wholelotofmoney togo to thegl/n store,and,youknow what1'
                                                                      m saying.They
   mightdo something topush m eoverthe edge. You understandwhere1'
                                                                 m going with this/''

                  LAW EN FO RC EM ENT C O N FIR M SJO H N SO N 'S IDENTITY

                 Records from the LauderhillPolice Departm entshow a 911 callcom ing from the

   addresson JOHN SO N 'SFlorida Driver's License on oraboutDecem ber5,2020 using the phone

   num berxxx-xu -6305.'lhecalleridentifiedhim selfasCharles,whichisJO HN SON 'Sfirst nam e,

   and the xxx-xxx-63O5 phone nulnber identified in the Lauderhill Police Departm ent records

   1H om eDepothasitscom omteom ceslocatd at2455PacesFerryRoad,Atlanh,GA 30339.

                                                  2
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  m atched thephonenum berthatm adenum erottsthreatening callsto both M LB and HD .

         9.     T-M obile records confirm ed thatJOH N SON isthe phone userand accotm tholder

  associated w ith the phone num ber xxx-xxx-6305. T-M obile records further provided thattlze

  address on T-M obile's records m atched the address shown on JOH N SON 'S Florida Driver's

  License.

                ln addition,on oraboutDecember28,2020,a FloridaLottery employee CçL.C.'')
  received a voicem ail from JO HN SON com ing from phone num ber xxx-xxx-6305,in w hich

  JO HN SO N identified him self with his fullnam e and address which m atch his Florida Driver's

  License.

                During the investigation,law enforcem entalso obtained a letter dated June 2007

  from JO HN SON sentto M etlaife Insurance Company whoatthetim ew asthe benefitsadm inistrator

  forHD inwhichJOHNSON statedthathe **hadaplantokillasmanyofHomeDepotemployeesas
  1could andthen killJ/l//NdcW .'' Asaresultofthe letter,HD issued aRiskProtection Orderin
   Brow ard County stating that JOH NSO N w as not penuitted to have any contactw ith H D or its

  em ployees.

         JO H N SO N 'SJA NUA R Y ZOZI H A RA SSING CA LL TO H D EM PLO Y EE M .C.

          12.   On or about January 7,2021, HD corporate security provided FBI M iam i w ith

   another voicem ailmessage that JOHNSON left HD employee (ççM .C.'') on M .C.'S colnpany
  voicemail. In thevoicemailJOHNSON stated:GGlgetacallh-om yourheadofsecurity...Telling
   zpc...(...)don'tcallthestoresanymore...Don'tcallourcorporatetp
                                                                //ccanymore.'' JOHNSON
   continued,QQyou'regoing toforcemeto dosomething1don'twtznftodo...OAV//NJIJZsomebody
   ain'tgettingthemessage...TheSeminoleHardRock,I'm goingtoshutthem downhrst...It'sgoing
   to be Sem inole N lr# R ock then it's going to be Florida Lottery...And it'sgoing to be in that
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  Or#er.''

         13.    Again,the xxx-xxx-6305phonenum bertlsedto callHD em ployee M C during this

  voicem ailisthesam enum berknow nto law enforcem entto belongto JOHN SON .

               4O HNSON'SM ULTIPLE HAM SSING CALLS TO VICTIM A.M .E.
                On or aboutN ovem ber 22,2020,JOHN SO N lefta voicem ailforM LB em ployee

  (tIA.M.E.'').InthevoicemailJOHNSON statedCCFI?Nthinkllikedoingthis?1don't...''JOHNSON
  continued,''letitgo...causetheonl
                                  ythingthat'sgonnahappenflgetit,1'
                                                                  m eithergonna takeit
  tothemedia,orI'
                m gonnagobuymeawholellzïnt?/zofguns.That'swhatyouwtznf.
                                                                      ?''
                On or about Novem ber 22, 2020, JO HN SON left another voicem ailfor M LB.

  employeeA .M .E. In thevoicem ailJOHN SON stated 'Letitgo,becauselikeIsaid,1 understand

  whypeoplearegoingandtakingthesehighpoweredr6esandgunsandarmamentthattheyuse to
  hghtwars. 1 understand wày,people arejustgoing in schools and shooting everybody.''
   JOHNSON continued,61understandwhysomebok goesouttoLasVegasandmurders38people
  up onthe3zndfloor.1understandthisw/w somebodywouldgoinashoppingmall,because ofthe
  sam e bullshit1'm going through,Iknow they wcn/through it.''

                On or aboutN ovember 22,2020,JOH N SON left yetanothervoicem ailforM LB

  em ployee A .M .E. In the voicem ail JOHN SON clearly identified him self and stated ''This is

  your...1don'
             tknow whattocallmyself1don'
                                       tknow fl'm anadversaryorancacvy,orwhatever,
  thisisCharlesTerranceJohnson.''JOHN SON continue; .*thisisnotaphysicalbattlethat1'm in,
  it'sspiritual,with these corrupt,wicked,evillews. Andyou can quote me on this,pleasetelld
                                                                                          cv?,1

  ain'tgotnoproblem.They'
                        refakes.''JOHNSON continue; ''Ohtheyabouttogetwhat'scomin
  to Tczz?.Trustme.Idon'twantnothingfhom 'cv.Y'alllordhastoldmethatheisgonna setthem
  onhrealong withalIoftheirlïff/eminions.''

                                                4
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      JOHNSON'S JANUARY 14,ZOZIH AIU SSJNG CALL TO THE FLORIDA LO TTERY
                 M ostrecently,on oraboutJanuary l4,202 1 JOHN SO N called the Florida Lottery

  w here hetold an em ployeeduring a conversation ..or1can handleitanother wcy'.Icango down to

  thegunstore,youknow what1mean?''Hewentontosay 6isometimeshveorsixpeoplein a body
   bag /'
        ,
        ytheonly wtzy'togeta m essage across.''

                                          CO NC LU SIO N

           18.   Based upon the foregoing facts,youram antrespectfully subm itsthere is probable

  causeto believe thatCHARLES TERRANCE JOHNSON,acting with the intentto kill,injure,
  harass,intimidate,orplace undersurveillancewiththeintenttokill,injure,harass,orintimidate
  anotherperson,used the m ail,any interactivecom puterservice orelectronic com m unication service

  or electronic com m unication system of interstate com m erce,or any otherfacility of interstate or

  foreir com m erce to engagein a course ofcondud thatplaced aperson in reasonable fearof death

  orseriousbodilyinjuryorcause; atlemptedtocause,orwouldbereasonably expectedto cause
  substantial em otional distress to a person,in violation of Title 18,U nited States Code,Section

  2261A .

           FUR TH ER Y O UR AFFIA NT SAY ETH NA U G H T.



                                                  '-

                                                       RW W A J.FAVLW IC,SèW IWV AGEW
                                                       FEDERAL BU REAU O F INV ESTIGA TION


  Attested to y theA p ic ' acc dance with the requirem ents
  ofFeCI.R. lim .P.4. b Fac .Ti this 1   day ofJanuary 2021.


  s    -            ?--     ,      s              -
         XBLE O HN J.O SU LL wx
  CH IE U N IRY STA TES M A GISTRAR'E JUD G E
